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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1. LINDA K. PRATER, an individual, )
                                         )
                Plaintiff,               )             Case No. 14-CV-673-CVE-PJC
  v.                                     )
                                         )             JURY TRIAL DEMANDED
  1. SH CCRC, LLC d/b/a Southern         )             ATTORNEY’S LIEN CLAIMED
  Hills Retirement Community, a foreign )              FOR THE FIRM
  corporation;                           )
  2. M.P. TULSA, LLC d/b/a Southern      )
  Hills Rehabilitation Center; a foreign )
  corporation;                           )
  3. PEO MANAGEMENT GROUP d/b/a )
  Southern Hills Retirement Community, )
  a foreign corporation;                 )
  4. CSI COMPANIES d/b/a Southern        )
  Hills Retirement Community, a foreign )
  corporation;                           )
  5. SOUTHERN HILLS RETIREMENT )
  COMMUNITY, a foreign corporation; )
                                         )
                Defendants.              )

                                           COMPLAINT

       The Plaintiff, Linda K. Prater, (“Plaintiff”) by and through her attorney of record, Charles C.

  Vaught of Armstrong & Vaught, P.L.C. hereby submits her Complaint against the above-named

  Defendants and would allege and state as follows:

                       STATEMENT OF JURISDICTION AND VENUE

  1.     This action arises under 29 U.S.C. § 623, the Age Discrimination in Employment Act

         (“ADEA”) and the common law of the State of Oklahoma.

  2.     Plaintiff is, and was at all times relevant hereto, a resident and citizen of the State of

         Oklahoma residing in Broken Arrow, Tulsa County, Oklahoma.



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  3.    Defendants are, and were at all times relevant to this cause of action, corporations doing

        business in, and with significant contacts to, the State of Oklahoma and maintain offices in

        Tulsa, Tulsa County, Oklahoma.

  4.    The acts and/or omissions giving rise to this lawsuit occurred in Tulsa County, State of

        Oklahoma.

  5.    Pursuant to 28 U.S.C. §1331 this Court has jurisdiction over the parties and the subject

        matter of this action, because this action arises under the Constitution and laws of the United

        States.

  6.    Pursuant to 28 U.S.C. §1391(b) this action properly lies in the Northern District of

        Oklahoma, because a substantial part of the events or omissions giving rise to this claim

        occurred in the Northern District of Oklahoma.

  7.    Defendants are employers as defined by the ADEA.

  8.    Plaintiff is an employee as defined by the ADEA.

  9.    In compliance with 29 U.S.C. § 626, Plaintiff filed a Charge of Discrimination with the U.S.

        Equal Employment Opportunity Commission (“EEOC”) within 90 days of the discriminatory

        acts complained of herein. On February 14, 2014, the EEOC issued a Determination against

        Defendants, thus finding reasonable cause to believe that Plaintiff was subjected to

        discrimination during her employment with Defendants. Plaintiff received a Right to Sue

        letter, a copy of which is attached hereto as Exhibit 1, from the EEOC on August 11, 2014.

                  BACKGROUND FACTS RELEVANT TO THIS ACTION

  10.   At all times relevant to this action Plaintiff was employed full time as an employee of the

        Defendants.


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  11.   Plaintiff has been at all times relevant to this action over the age of forty (40).

  12.   Plaintiff became employed full time with the Defendants in February of 2008 as the

        Marketing / Admissions Director at Defendants’ nursing and rehabilitation center, Southern

        Hills Retirement Community, located at 5170 South Vandalia, Tulsa, Oklahoma 74135.

  13.   During her employment, Plaintiff received paychecks from Defendant PEO Management

        Group and correspondence from Defendant CSI Companies. The Oklahoma Secretary of

        State business entity registry does not contain entries for these companies. Certain nursing

        home registries list Defendant SH CCRC, L.L.C. as the corporate owner of Southern Hills

        Retirement Community. The Oklahoma Secretary of State lists Defendant M.P. Tulsa, LLC

        as the corporate owner for Southern Hills Rehabilitation Center, which is located at the same

        physical address upon which Plaintiff was employed and is where Defendant Southern Hills

        Retirement Community maintains its offices and nursing home.

  14.   Plaintiff has successfully served as Defendants Marketing / Admissions Director and was

        consistently able to maintain acceptable patient census levels through appropriate marketing

        efforts during her employment.

  15.   Plaintiff was never subjected to discipline or corrective action during her employment with

        Defendants and, instead, consistently received favorable reviews from management,

        compliments from the residents and family of the residents, as well as from her co-workers.

  16.   In March of 2012, Patty Eisenmann, was hired as the new Administrator of Defendant

        Southern Hills Retirement Community. Immediately upon taking office, Eisenmann advised

        Plaintiff that new admissions to the facility were being placed on hold until the facility was

        able to clear a follow-up survey related to the conditions of the facility.


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  17.   Approximately one week after Eisenmann took office, she introduced Plaintiff to her

        daughter, Angel, who was in her 20's at that time. Shortly thereafter, Eisenmann began

        making negative comments about Plaintiff’s age and the impact Eisenmann perceived

        Plaintiff’s age had on obtaining new admissions to the facility. These comments included

        the following, non-exhaustive list of relevant comments:

        a.     Eisenmann advised Plaintiff that her daughter would be able to obtain admission

               referrals for the facility since she was younger;

        b.     Eisenmann made comments to Plaintiff, as well as other staff members in Plaintiff’s

               presence, that her daughter would be much better at obtaining admission referrals

               since she was younger;

        c.     On approximately May 3, 2012, Eisenmann advised corporate representatives Cathy

               Leedy Cruttendon and Pat Foss, in front of Social Services Director Linda Williams,

               that her daughter could bring in more referrals from the doctors because she is

               younger than Plaintiff. More specifically, Eisenmann stated that her daughter would

               “just wink at the doctors and toss her long black hair over her shoulder and they

               would give her all of their nursing home referrals.”

  18.   On May 4, 2012, Plaintiff was terminated by Eisenmann. At the time of Plaintiff’s

        termination, the facility’s census was 94 and there were only 6 open beds to be filled.

  19.   Immediately after Plaintiff’s termination, Eisenmann hired her daughter, Angel, who is

        significantly younger than 40 years of age, to replace Plaintiff as Marketing / Admissions

        Director.

  20.   Eisenmann’s daughter was not qualified for the position, in that her past training and skills


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        have been related to working in spas and in the nail care field. Plaintiff, on the other hand,

        had well-over a decade working in Marketing and Admissions for nursing facilities.

  21.   No reason was given for Plaintiff’s termination at the time she was terminated from

        employment. However, Defendants have provided the pretextual reasons that Plaintiff was

        terminated due to “Lack of Work” and “Reorganization.” Alternatively, Defendants have

        stated that Plaintiff was not terminated from employment and that, instead, she resigned from

        her position.

  22.   Plaintiff was discriminated against solely because of her age.

  23.   Plaintiff was terminated and discharged from her employment solely because of her age.

  24.   These events constitute a clear, substantial and egregious violation of 29 U.S.C. § 623, which

        states that:

                It shall be unlawful for an employer to . . . discharge or otherwise
                discriminate against an individual with respect to his compensation,
                terms, conditions, or privileges of employment because of such
                individual’s age . . . .

  25.   The events described herein were performed in such an extreme and outrageous manner that

        a reasonably prudent person would have known that emotional distress, physical abuse and

        bodily harm would result therefrom.

  26.   As a result of the events described herein, Plaintiff was wrongfully discriminated against and

        terminated in violation of the laws of the United States and the common law of the State of

        Oklahoma.



                                 FIRST CLAIM FOR RELIEF
                   (DISCRIMINATION IN VIOLATION OF 29 U.S.C. § 623 et seq.)


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  27.     Plaintiff incorporates and re-alleges the foregoing paragraphs as though fully set forth herein

          and would further state as follows:

  28.     Defendants, as a result of the acts or omissions described above, have engaged willfully,

          knowingly, purposefully, and with specific intent in conduct to deprive Plaintiff of her rights

          of:

                  a.      Freedom from discrimination based upon age;

                  b.      Freedom not to have her status as an employee affected based on age;

                  c.      Freedom not to have all privileges of employment infringed upon because of

                          her age.

  29.     All of these rights are secured to Plaintiff by the provisions of 29 U.S.C. § 623.

  30.     By virtue of the acts or omissions of Defendants, Defendants has violated 29 U.S.C. § 623.

  31.     As a result of the aforementioned violation, Defendants thereby injured Plaintiff, depriving

          her of her rights and privileges of employment because of her age.

          WHEREFORE, Plaintiff prays that the Defendants appear and answer this Complaint, and

  that this Court: (1) declare the conduct engaged in by the Defendants to be in violation of Plaintiff's

  rights; (2) enjoin the Defendants from engaging in such conduct; (3) enter a judgment for Plaintiff

  in an amount in excess of $100,000.00 plus interest, costs, attorney fees, and compensatory and

  punitive damages; (4) order the Plaintiff reinstated to her former position; and (5) grant Plaintiff such

  other and further relief as this Court may deem just, proper and equitable.

                               SECOND CLAIM FOR RELIEF
                (WRONGFUL TERMINATION IN VIOLATION OF 29 U.S.C. § 623 et seq.)

  32.     Plaintiff incorporates and re-alleges the foregoing paragraphs as though fully set forth herein



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          and would further state as follows:

  33.     Defendants, as a result of the acts or omissions described above, have engaged willfully,

          knowingly, purposefully, and with specific intent in conduct to terminate and discharge

          Plaintiff solely because of her age.

  34.     As a result of the aforementioned violation, Defendants thereby injured Plaintiff, depriving

          her of her rights and privileges of employment, because of her age.

          WHEREFORE, Plaintiff prays that the Defendants appear and answer this Complaint, and

  that this Court: (1) declare the conduct engaged in by the Defendants to be in violation of Plaintiff's

  rights; (2) enjoin the Defendants from engaging in such conduct; (3) enter a judgment for Plaintiff

  in an amount in excess of $100,000.00 plus interest, costs, attorney fees, and compensatory and

  punitive damages; (4) order the Plaintiff reinstated to her former position; and (5) grant Plaintiff such

  other and further relief as this Court may deem just, proper and equitable.

                                        THIRD CLAIM FOR RELIEF
                                       (NEGLIGENT SUPERVISION)

  35.     Plaintiff incorporates and re-alleges the foregoing paragraphs as though fully set forth herein

          and would further state as follows:

  36.     By virtue of the fact that components of the age discrimination complained of herein

          occurred within the direct view of Defendants’ corporate management employees, and

          Defendants’ corporate agents and/or employees failed to take corrective action upon notice

          of Eisenmann’s discriminatory behavior, Defendants were negligent in supervising

          Eisenmann.

  37.     Plaintiff has suffered harm through her employment, and as a direct and proximate result of



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         the Defendant’s failure to act upon notice of the age discrimination Plaintiff was subjected

         to.

  38.    Defendant knew or should have known that Defendant’s agent and employee had a

         propensity for discriminating against older employees, as demonstrated by the observations

         of its management and/or supervisory employees.

  39.    At the time of the age discrimination and harassment, Defendants had reason to believe that

         Eisenmann would create an undue risk of harm to others as its corporate management had

         directly observed the discrimination at issue.

  40.    That Defendant failed to act upon this information to bring about an end to the age

         discrimination and harassment.

  41.    As a direct and proximate result of said actions by Defendants, Plaintiff has suffered, is now

         suffering, and will continue to suffer lost wages and fringe benefits, emotional pain, anxiety,

         inconvenience, mental anguish, loss of enjoyment of life, humiliation, and other pecuniary

         losses.

  42.    Defendants’ actions were wilful and done with reckless indifference to Plaintiff’s rights, thus

         warranting an award of punitive damages.

  43.    Plaintiff has been injured by this discrimination and harassment, and is entitled to

         compensatory and punitive damages and any other damages allowed under Oklahoma state

         law.

         WHEREFORE, Plaintiff prays that the Defendants appear and answer this Complaint, and

  that this Court: (1) declare the conduct engaged in by the Defendants to be in violation of Plaintiff's

  rights; (2) enjoin the Defendants from engaging in such conduct; (3) enter a judgment for Plaintiff


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  in an amount in excess of $100,000.00 plus interest, costs, attorney fees, and compensatory and

  punitive damages; (4) order the Plaintiff reinstated to her former position; and (5) grant Plaintiff such

  other and further relief as this Court may deem just, proper and equitable.

                                   FOURTH CLAIM FOR RELIEF
                        (INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS)

  44.     Plaintiff incorporates and re-alleges the foregoing paragraphs as though fully set forth herein

          and would further state as follows:

  45.     That Defendants have engaged willfully, knowingly, purposefully, and with specific intent

          in conduct to inflict emotional distress upon Plaintiff.

  46.     Further, Defendants recklessly caused emotional distress to the Plaintiff knowing that there

          was a substantial probability that emotional distress to Plaintiff would result from its

          conduct, and the Defendants disregarded that probability.

  47.     The aforementioned acts or omissions complained of did in fact inflict emotional distress

          upon the Plaintiff.

  48.     As a result of Defendants’s acts or omissions, Plaintiff has suffered, and continues to suffer

          pecuniary damages, such as costs and expenses of legal representation and other pecuniary

          and non-pecuniary damages, and is entitled to any and all damages allowed under applicable

          law.

          WHEREFORE, Plaintiff prays that the Defendants appear and answer this Complaint, and

  that this Court: (1) declare the conduct engaged in by the Defendants to be in violation of Plaintiff's

  rights; (2) enjoin the Defendants from engaging in such conduct; (3) enter a judgment for Plaintiff

  in an amount in excess of $100,000.00 plus interest, costs, and attorney fees; and (4) grant Plaintiff



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   such other and further relief as this Court may deem just, proper and equitable.

                                                Respectfully submitted,

                                                ARMSTRONG & VAUGHT, P.L.C.



                                                 /s/ Charles C. Vaught
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